Case 0:04-cr-60001-MGC Document 1291 Entered on FLSD Docket 12/06/2007 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 04-60001-CR-COOKE

   UNITED STATES OF AMERICA,

          Plaintiff,

   vs

   ADHAM AMIN HASSOUN, et al.,

         Defendant(s)
   ______________________________________/

                                      NOTICE OF HEARING

          PLEASE TAKE NOTICE that the above-entitled cause has been re-scheduled for sentencing

   hearing beginning on Tuesday, January 8, 2008, at 10:00 a.m., before the Honorable MARCIA

   G. COOKE, United States District Judge, at 301 North Miami Avenue, Miami, Florida, Courtroom

   Six.

          Dated: December 6, 2007.

                                             CLARENCE G. MADDOX, II, CLERK


                                             By:                 s/
                                                           Ivan J. Marchena
                                                           Deputy Clerk

   cc:    All counsel of record
          U.S. Marshal
          U.S. Pretrial Services
          U.S. Probation
